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  1   CENTER FOR SCIENCE
      IN THE PUBLIC INTEREST
  2   Maia Kats (to be admitted pro hac vice)
      (DC Bar No. 422798; NY Bar No. 2261592)
  3   mkats@cspinet.org
      Matthew Simon (to be admitted pro hac vice)
  4   (DC Bar No. 144727; NY Bar No. 5447222)
      msimon@cspinet.org
  5   1220 L Street, NW, Suite 300
      Washington, District of Columbia 20005
  6   Telephone: (202) 777-8381
      Facsimile: (202) 265-4954
  7
      REESE LLP
  8   Michael R. Reese (SBN 206773)
      mreese@reesellp.com
  9   100 West 93rd Street, 16th Floor
      New York, New York 10025
 10   Telephone: (212) 643-0500
      Facsimile: (212) 253-4272
 11
      MEHRI & SKALET, PLLC
 12   Craig L. Briskin (to be admitted pro hac vice)
      (DC Bar No. 980841; NY Bar No. 3028784; MA Bar No. B640963)
 13   cbriskin@findjustice.com
      1250 Connecticut Avenue, NW, Suite 300
 14   Washington, District of Columbia 20036
      Telephone: (202) 822-5100
 15   Facsimile: (202) 822-4997
 16   Counsel for Proposed Intervenors Jeffrey Worth and Robert Burns
 17                       UNITED STATES DISTRICT COURT
 18                     SOUTHERN DISTRICT OF CALIFORNIA
 19    LES FERGUSON, individually and on      No. 3:18-cv-01529-JLS-MDD
       behalf of others similarly situated,
 20
                                              REPLY IN SUPPORT OF MOTION
                          Plaintiff,
 21                                           TO INTERVENE AND TO
             v.                               TRANSFER OR, IN THE
 22
                                              ALTERNATIVE, TO STAY THIS
       CVS PHARMACY, INC.,
 23                                           ACTION PURSUANT TO THE
                          Defendant.          FIRST-TO-FILE RULE
 24
                                              Taken Under Submission
 25
                                              Judge: Hon. Janis L. Sammartino
 26

 27

 28                                                              Case No. 18cv1529
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  1                                    INTRODUCTION
  2         Plaintiff’s description of the history of this case gives the Worth Plaintiffs
  3   further reason to be concerned that CVS is attempting negotiate another reverse
  4   auction settlement, and provides even more support for the Worth Plaintiffs’ request
  5   that the Court either transfer or stay this action, given that a court in the Eastern
  6   District of New York has appointed the undersigned counsel as interim co-lead
  7   counsel for a proposed nationwide class, after thwarting an earlier attempt by CVS
  8   to compromise the interests of the class through a reverse auction settlement.
  9         In their joint motion to vacate the default judgment, the parties state that CVS
 10   counsel was unaware a complaint had been served on CVS on July 10, 2018, and
 11   mistakenly believed that Ferguson had only sent a draft complaint with a CLRA
 12   notice letter, but had not filed and served a complaint on CVS, which it had. CVS
 13   counsel appears to state that it was unaware a complaint had been filed until Ferguson
 14   moved for entry of default on October 3, 2018. This basic error seems unusual, to say
 15   the least, for a large corporation with sophisticated counsel. The Worth Plaintiffs note
 16   that Mr. Spano of the Polsinelli firm (CVS Counsel in Worth), alerted the Worth
 17   Court at a July 12, 2018 hearing of this action: “[T]here’s been a related case filed in
 18   the Southern District of California.” Ex. A at A019–A020. Worth Counsel also served
 19   a copy of the motion to intervene in this matter on Mr. Spano on September 6, 2018.
 20   See Ferguson, ECF No. 4 (Certificate of Service).1
 21         More worrisome is the fact that it appears that the parties were in negotiations
 22   to settle this matter, which involves a proposed class the Worth Plaintiffs have sought
 23

 24   1
       Docket entries in this Memorandum of Law are cited as follows: Worth v. CVS
 25   Pharmacy, Inc., No. 16 Civ. 498 (FB) (SMG) (E.D.N.Y.) (“Worth, ECF No.”);
      Aliano v. CVS Pharmacy, Inc., No. 16 Civ. 2624 (FB) (SMG) (E.D.N.Y.) (“Aliano,
 26   ECF No.”); and Ferguson v. CVS Pharmacy Inc., No. 18 Civ. 1529 (JLS) (MDD)
 27   (S.D. Cal.) (“Ferguson, ECF No.”).
 28                                            -1-              Case No. 18cv1529
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  1   to represent since February 2016. Mr. Ferguson’s claims are the subject of a
  2   mediation scheduled for today in the Worth matter before JAMS mediator David
  3   Geronemus in New York. The last time the Worth Plaintiffs and CVS engaged in
  4   mediation before Mr. Geronemus, in April 2016, CVS was surreptitiously negotiating
  5   and did enter a settlement with a copycat filer, Mario Aliano, just a few days after
  6   the mediation concluded.
  7         The parties state that there was correspondence between CVS and Ferguson
  8   regarding settlement of this matter, but they have not disclosed the communications
  9   or described their contents. Ferguson, ECF No. 8 ¶¶ 4–5. It is not clear from the Joint
 10   Motion whether the parties discussed a class-wide resolution of the matter, or only
 11   an individual resolution for Mr. Ferguson’s individual purchase. In addition, while
 12   Ferguson counsel states, “I am currently aware of no relationship between my firm
 13   or Plaintiff and Mario Aliano or his counsel,” Kashima Decl. ¶ 6, the statement of
 14   “no relationship” is vague, and does not foreclose the possibility that there have been
 15   communications between Ferguson counsel and Aliano counsel. In addition, there is
 16   no declaration from CVS counsel in the record, regarding settlement negotiations
 17   with Ferguson, or any communications with Aliano counsel.
 18         Given that Magistrate Judge Gold in the Eastern District of New York has
 19   appointed interim co-lead counsel of the proposed class and stayed the case pending
 20   mediation of the matter, it only makes sense to stay or transfer this matter, to avoid
 21   the possibility of conflicting rulings or a reverse auction settlement.
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 28                                             -2-             Case No. 18cv1529
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  1                                         ARGUMENT
  2   I.     THE     COURT        SHOULD        PERMIT       WORTH       PLAINTIFFS         TO
  3          INTERVENE AS A MATTER OF RIGHT
  4          A.     The Disposition of this Litigation Threatens the Proposed
  5                 Intervenors’ Protected Interests
  6          The Worth Plaintiffs were the first filers and have been appointed interim lead
  7   counsel, yet this case could move towards settlement without their participation. This
  8   litigation clearly threatens their interests.
  9          In his opposition brief, Ferguson asserts that the Worth Plaintiffs have no
 10   interests in this action because they are not members of the Ferguson class. Opp. Br.
 11   at 3, 6. Ferguson envisions his lawsuit as completely separate from the Worth
 12   Plaintiffs’ claims. Yet Ferguson admits that a settlement in Worth would subsume
 13   this matter. Rule 24(a)(2) rejects mechanical application, requiring the Court to
 14   consider whether, “as a practical matter,” a decision here will impact the Worth
 15   Plaintiffs’ interests. The Worth Plaintiffs have identified several interests that will be
 16   impaired by the disposition of this action.
 17          First, Worth Plaintiffs have an interest is seeing the first-to-file rule applied
 18   here. Second, Worth Plaintiffs assert that there are significant risks of inconsistent
 19   rulings between the two courts. Even if such rulings are not legally binding on the
 20   Worth Court (Opp. Br. at 6), an unfavorable decision from this Court would, “as a
 21   practical matter,” strongly influence any subsequent decisions in the Worth Action.
 22   Such a ruling may also bind California consumers of CVS’ product, precluding the
 23   Worth Plaintiffs from representing those consumers.2 Third, the pendency of these
 24   two cases undermines the Worth Plaintiffs’ negotiating position in its settlement
 25
      2
 26     Concerns of inconsistent rulings are particularly acute here, where all the
      surrounding factors indicate that Ferguson—a copycat filer who has conducted no
 27   original scientific, legal, or factual research for the action—will not adequately
      represent the interests of the class.
 28                                               -3-                    Case No. 18cv1529
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  1   discussions with CVS. Finally, and critically, Ferguson may enter into an inadequate,
  2   reverse auction settlement with CVS, undeniably affecting the economic and legal
  3   interests of Worth Plaintiffs and the putative nationwide class they seek to represent.
  4   It was this exact concern that led Judge Gold to appoint Worth Counsel interim co-
  5   lead counsel to negotiate exclusively for the class. See Letter Renewing FRCP 23(g)
  6   Motion, Worth, ECF No. 89; Worth, Minute Entry June 18, 2018.
  7         Ferguson argues that this last interest is a “conspiracy theory,” “implausible,”
  8   and accuses Worth Plaintiffs of “machinations based on speculation and surmise.”
  9   Opp. Br. at 7. But given CVS’s actions in the Aliano matter, and the auspicious timing
 10   of Ferguson’s filing, the Worth Plaintiffs’ concerns are far from surmise. In fact, Mr.
 11   Aliano’s counsel told the Worth Plaintiffs to expect to see another filing and another
 12   settlement. Ferguson filed his complaint almost two and a half years after the Worth
 13   Plaintiffs filed their action, lodging identical factual allegations, making allegations
 14   about a label that changed in early 2016, apparently unaware that a different version
 15   of the label has been on CVS’s shelves since that time. Only after the Aliano
 16   settlement was denied preliminary approval on grounds unrelated to its substantive
 17   adequacy, Ferguson raced to the courthouse. Under such circumstances, it seems
 18   more than plausible that Ferguson’s goal is to take the Aliano reverse auction
 19   settlement to the finish line. Certainly, CVS would be no obstacle. It has already
 20   “rushed to reach a settlement” with a copycat filer while the Worth Plaintiffs “were
 21   in the midst of mediator-assisted negations.” Aliano v. CVS Pharmacy, Inc., No. 16
 22   Civ. 2624 (FB) (SMG), 2018 WL 3625336, at *6 (E.D.N.Y. May 21, 2018). Ferguson
 23   and CVS’ recent joint filing lends more credibility to this charge. In it, CVS notes it
 24   believed “no action had been filed while the parties’ attempted to resolve the matter.”
 25   Ferguson, ECF No. 8 at ¶ 6 (emphasis added).3
 26   3
       This admission renders Ferguson’s assertion that Worth Plaintiffs “have not
 27   demonstrated . . . that any settlement discussions between Plaintiff and Defendant
      are imminent” (Opp. Br. at 8) misleading at best.
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  1             Nor would this be the first time Ferguson counsel expanded a complaint from
  2   a California class in order to enter into a substantively infirm nationwide settlement.
  3   In Hahn v. Massage Envy Franchising, Inc., the plaintiff (represented by Ferguson
  4   counsel) filed a class action complaint under California’s consumer protection laws
  5   on behalf of a California class. See No. 12 Civ. 153 (DMS) (BGS) (S.D. Cal.), ECF
  6   No. 381 at 2–3, Ex. A. However, after reaching an agreement with the defendant,
  7   Ferguson counsel simultaneously submitted an unopposed amended complaint and
  8   sought approval for a nationwide settlement under “new contract claims.” Id. at 4–5.
  9   In its order denying approval of that settlement, the court found an unacceptable inter-
 10   class conflict and that Ferguson counsel’s fee request was unreasonable, noting that
 11   it “present[ed] all the signs [of collusion].” Id. at 13, 19–20. Although not the basis
 12   for its decision, the court described the benefits of the proposed settlement as
 13   “modest” and the response to the settlement as “anemic,” further suggesting it was a
 14   close question whether to disapprove of the settlement on this basis as well. Id. at
 15   24.4, 5
 16             Ferguson, moreover, does not rule out the possibility that he will settle this
 17   case on a nationwide basis with CVS, arguing that, if the case were “somehow
 18   expanded to include the Worth [P]laintiffs,” the Worth Plaintiffs’ interests would be
 19   adequately protected by Fed. R. Civ. Pro. 23. Opp. Br. at 8 (emphasis added). With
 20   the history of the Worth case in mind, it is clear that the opportunity to object to such
 21
      4
        The court subsequently approved an amended settlement agreement. No. 12 Civ.
 22   153 (DMS) (BGS) (S.D. Cal.), ECF No. 393.
      5
 23     For these reasons, Ferguson finds no help in several out-of-circuit cases holding
      that “speculative” interests are insufficient under Rule 24(a). Opp. Br. at 7. These
 24   cases all concerned interests that were contingent on events wholly unrelated to the
      litigation. See Washington Elec. Co-op., Inc. v. Massachusetts Mun. Wholesale
 25   Elec. Co., 922 F.2d 92, 97 (2d Cir. 1990) (intervenors interest dependent on
      decision of the independent Vermont Public Service Board); Standard Heating &
 26   Air Conditioning Co. v. City of Minneapolis, 137 F.3d 567, 571 (8th Cir. 1998)
      (intervenors interest dependent on “economic forces,” which were not shown to be
 27   likely to occur).
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  1   a settlement will not sufficiently protect the Worth Plaintiffs’ interests. The two years
  2   of litigation leading to the eventual dismissal of the Aliano case amply demonstrate
  3   that the Worth Plaintiffs and the putative class will be prejudiced by any such legal
  4   battle.6
  5          B.      Ferguson Does Not Adequately Represent Worth Plaintiffs’
  6                  Interests
  7          A party seeking intervention as of right must only make a showing that the
  8   representation “may be” inadequate, and “the burden of making that showing should
  9   be treated as minimal.” Trbovich v. United Mine Workers of Am., 404 U.S. 528, 538
 10   n.10 (1972).
 11          The test is readily met here. Neither party in this action is willing to seek to
 12   transfer or stay this action under the first-to-file rule. Ferguson admits as much,
 13   arguing merely that it is not in the Ferguson class’ interests to stay or transfer the
 14   action. Opp. Br. at 10. That is the point. On this issue, Ferguson’s interests are not
 15   aligned with the Worth Plaintiffs’ interests.
 16
      6
 17     Ferguson also devotes several pages to arguing that the Worth Plaintiffs would not
      adequately represent the Ferguson class because the latter’s claims come under more
 18   “feasible” California’s consumer protections laws. Opp. Br. at 3–6. This, of course,
 19   is the reverse of the question before the Court. It goes to Ferguson’s interests in the
      disposition of the Worth Action, not the Worth Plaintiffs’ interests in the Ferguson
 20   Action. Should Ferguson wish to take issue with the Worth Plaintiffs’ representation
 21   of California purchasers, he should file a motion to intervene in the Worth Action.
      Regardless, nationwide classes and nationwide class action settlements in consumer
 22   protection actions are routinely certified and/or approved. See, e.g., In re Checking
 23   Account Overdraft Litig., 307 F.R.D. 630, 647 (S.D. Fla. 2015) (“There is general
      agreement among courts that the ‘minor variations in the elements of unjust
 24   enrichment under the laws of the various states . . . are not material and do not create
 25   an actual conflict.’” (quoting Pennsylvania Employee, Benefit Tr. Fund v. Zeneca,
      Inc., 710 F. Supp. 2d 458, 477 (D. Del. 2010)); Order Granting Final Approval of
 26   Class Action Settlement, Jovel v. I-Health, No. 12 Civ. 5614, ECF No. 143
 27   (approving nationwide class action settlement of DHA supplement purchasers).
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  1         More, as a copycat filer, Ferguson will not adequately represent Worth
  2   Plaintiffs’ interests at the negotiating table or in litigation. Having conducted no
  3   scientific research to file his Complaint, Ferguson is likely to be found flat-footed
  4   when CVS argues, as it has, that its product supports eye, heart, and brain health and,
  5   thus, had substantial value. Having conducted no legal research, Ferguson will have
  6   no response when CVS argues, as it has, that its new label is fully compliant with
  7   FDA regulations and, therefore, no meaningful injunctive relief is warranted. See
  8   Aliano, ECF No. 75. Ferguson responds that his counsel is “well versed with class
  9   actions and this particular area of law.” Opp. Br. at 9. Even if this were true,7 it is
 10   irrelevant. The question is whether Ferguson will adequately represent the Worth
 11   Plaintiffs’ in this action. He will not.
 12   II.   ALTERNATIVELY,                 PERMISSIVE           INTERVENTION              IS
 13   WARRANTED UNDER RULE 24(b)
 14         Even if the Court were to find reason not to grant intervention as of right, Rule
 15   24(b) vests district courts with “broad discretion” when deciding whether to permit
 16   intervention by parties seeking to protect their interests. Orange Cty. v. Air
 17   California, 799 F.2d 535, 539 (9th Cir. 1986).
 18         Rule 24(b) requires only that intervenors have “a claim or defense that shares
 19   with the main action a common question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B).
 20   As discussed above, the Worth Plaintiffs’ claims, which were copied by Ferguson,
 21   are virtually identical to the claims in this case. Indeed, both cases involve the same
 22   product, the same defendant, and allege that the same representations on the
 23   packaging of the product are false and misleading for the same reasons.
 24         Perhaps recognizing that Rule 24(b) is met here, Ferguson argues that this
 25
      7
       Notably, of the four cases Ferguson counsel submits in support of this proposition,
 26   only one involved a food or supplement product. See Kashima Decl. ¶¶ 3–5.
      Another, Hahn, discussed above, confirms the Worth Plaintiffs’ concerns.
 27

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  1   Court must have “an independent basis for jurisdiction” over the Worth Plaintiffs’
  2   and that it lacks personal jurisdiction to hear their claims. Opp. Br. at 11 (quoting
  3   Donnelly v. Glickman, 159 F.3d 405, 412 (9th Cir. 1998)). That assertion is meritless.
  4   The Donnelly Court was referring to an independent basis for subject matter
  5   jurisdiction, which this Court has under CAFA. See Gila River Indian Cmty. v. United
  6   States, No. 10 Civ. 1993 (PHX) (DGC), 2010 WL 4269590, at *4 (D. Ariz. Oct. 28,
  7   2010) (“[T]he inquiry under the first element concerns subject matter jurisdiction.”
  8   (citing E.E.O.C. v. Nevada Resort Ass’n, 792 F.2d 882, 886 (9th Cir. 1986));
  9   Freedom from Religion Found., Inc. v. Geithner, 644 F.3d 836, 843 (9th Cir. 2011)
 10   (intervenors do not need Article III standing; the jurisdiction inquiry arises mainly
 11   from a concern “in diversity cases where proposed intervenors seek to use permissive
 12   intervention to gain a federal forum for state-law claims over which the district court
 13   would not, otherwise, have jurisdiction.”).
 14   III.   THE COURT SHOULD TRANSFER OR STAY THIS ACTION
 15          UNDER THE FIRST-TO-FILE RULE
 16          If there was any case were the first-to-file rule should apply, it is this one. It is
 17   undisputed that the Worth Case was the first filed. Indeed, it was filed over two and
 18   half years prior to the instant action. More, the parties in the two actions are the same.
 19   Both suits name as the sole defendant CVS Pharmacy, Inc., and the putative class of
 20   nationwide purchasers in the Worth Complaint subsume Ferguson’s claims and those
 21   of the putative class of California purchasers.
 22          Recognizing these facts, Ferguson argues that the issues in these cases are
 23   “fundamental[ly]” different. Noting that the Worth Plaintiffs seek to represent a
 24   nationwide class under the common law, Ferguson asserts it will be more difficult to
 25   certify the Worth class, which apparently means that no “judicial economies” will be
 26   achieved by staying or transferring this action. Opp. Br. at 12–13.
 27          No judicial economies? Both cases are based on the same underlying facts and
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   1   make virtually identical legal claims. The discovery required, expert testimony, and
   2   legal and factual arguments in the two cases will be indistinct. The idea that this one
   3   difference overrides the extensive similarities between these two actions strains
   4   credulity. Am. Newland Communities, L.P. v. Axis Specialty Ins. Co., No. 11 Civ.
   5   1217 (JLS) (WMC), 2011 WL 5359335, at *1 (S.D. Cal. Nov. 7, 2011) (Sammartino,
   6   J.) (“[T]he similarity of issues requirement does not require that the issues in the two
   7   actions be identical.”).
   8          Adoma v. Univ. of Phoenix, Inc., which Ferguson cites in support of this
   9   specious argument, is inapposite. Opp. Br. at 13 (citing 711 F. Supp. 2d 1142 (E.D.
  10   Cal. 2010)). The Adoma court found that the three first-to-file rule factors all favored
  11   its application, including the similarity of the issues. Id. at 1146–1149. Nonetheless,
  12   the Court determined that “the equities . . . tipp[ed] in favor of an exception to the
  13   first-to-file rule. Id. at 1150. Chief among the court’s concerns was that the statute of
  14   limitations would run against the plaintiff, because, “unlike in a class action where
  15   the statute of limitations is tolled while a plaintiff seeks class certification, the rights
  16   members of a proposed collective action are not so protected.” Id. (emphasis added).
  17   More, the Court noted differences in the two actions “theory of liability.” Id. Neither
  18   of these factors are present here. Nor did Adoma concern a copycat filer who brought
  19   a case two and half years after the initial case, where the original plaintiffs were
  20   appointed interim lead counsel.
  21          Because transferring or staying this action is “appropriate based on the first-
  22   to-file factors and promotes the policy considerations underlying the rule,” Manier v.
  23   L’Oreal USA, Inc., No. 16 Civ. 6886 (ODW) (KS), 2017 WL 59066, at *2 (C.D. Cal.
  24   Jan. 4, 2017), the Worth Plaintiffs respectfully ask the Court to apply the first-to-file
  25   rule and transfer Ferguson to join the earlier-filed Worth Case in the Eastern District
  26   of New York or, alternatively, stay this action.
  27

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   1                                     CONCLUSION
   2         For the foregoing reasons, the Court should grant the motion of Jeffrey Worth
   3   and Robert Burns to intervene in the above-captioned action, and either stay this
   4   matter, or transfer it to the Eastern District of New York.
   5
       Date: October 18, 2018           Respectfully submitted,
   6
                                        REESE LLP
   7
                                        By: /s/ Michael R. Reese
   8
                                        Michael R. Reese (SBN 206773)
   9                                    mreese@reesellp.com
                                        100 West 93rd Street, 16th Floor
  10                                    New York, New York 10025
                                        Telephone: (212) 643-0500
  11                                    Facsimile: (212) 253-4272
  12                                    CENTER FOR SCIENCE
                                        IN THE PUBLIC INTEREST
  13                                    Maia Kats (to be admitted pro hac vice)
                                        mkats@cspinet.org
  14                                    Matthew Simon (to be admitted pro hac vice)
                                        msimon@cspinet.org
  15                                    1220 L Street, NW, Suite 300
                                        Washington, District of Columbia 20005
  16                                    Telephone: (202) 777-8381
                                        Facsimile: (202) 265-4954
  17
                                        MEHRI & SKALET, PLLC
  18                                    Craig L. Briskin (to be admitted pro hac vice)
                                        cbriskin@findjustice.com
  19                                    1250 Connecticut Avenue, NW, Suite 300
                                        Washington, District of Columbia 20036
  20                                    Telephone: (202) 822-5100
                                        Facsimile: (202) 822-4997
  21
                                        Counsel for Proposed Intervenors Jeffrey Worth
  22                                    and Robert Burns
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   1                            CERTIFICATE OF SERVICE
   2         I HEREBY CERTIFY that, on October 18, 2018, I electronically filed the
   3   foregoing Memorandum with the Clerk of the Court using CM/ECF, which sends
   4   notice of such filing to all parties registered with the CM/ECF system.
   5                                   By: /s/ Michael R. Reese
   6                                   Michael R. Reese (SBN 206773)
   7

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